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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 IN RE MEDIA APPLICATION FOR
 AUDIOVISUAL ACCESS TO TRIAL                        Case No. 23-mc-99 (TSC)
 PROCEEDINGS IN UNITED STATES OF
 AMERICA v. DONALD J. TRUMP


 IN RE APPLICATION OF NBC
 UNIVERSAL MEDIA, LLC TO PERMIT                     Case No. 23-mc-107 (TSC)
 VIDEO AND AUDIO OF TRIAL
 PROCEEDINGS IN UNITED STATES v.
 DONALD TRUMP


            UNITED STATES’ OPPOSED MOTION FOR LEAVE TO FILE
           REPLY IN OPPOSITION TO DEFENDANT DONALD J. TRUMP’S
              RESPONSE TO APPLICATIONS TO BROADCAST THE
                CRIMINAL TRIAL OF UNITED STATES v. TRUMP

       On November 3, 2023, the United States filed an opposition to applications of a coalition

of media organizations seeking to record and broadcast the criminal trial of Donald J. Trump (“the

defendant”). ECF No. 16. In advance of that filing, the Government sought the defendant’s

position on the applications, and his counsel requested that the Government represent to the Court

that he took no position. The Government accurately reported that to the Court. Id. at n.2. On

November 10, however, the defendant reversed course and filed a response in support of the

applications. ECF No. 19. The defendant’s response did not engage with the relevant Federal

Rule of Criminal Procedure or cite any applicable caselaw, and instead made false and incendiary

claims about the administration of his criminal case, United States v. Trump, No. 23-cr-257 (TSC).

The Government requests an opportunity to respond to the defendant’s claims and is prepared to

file its proposed reply, which is four pages, immediately upon receiving leave from the Court.

       The Government sought the positions of the applicants and the defendant on this motion
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for leave to file. The defendant objects. NBC Universal Media, LLC, does not object. The Media

Coalition wants the opportunity to address any issues raised by the Government’s reply in its reply

that is currently due on November 17, and accordingly does not object as long as the Government

files its reply by November 14. As stated above, if given leave, the Government plans to file its

reply immediately.



                                                     Respectfully submitted,

                                                     JACK SMITH
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